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                                                              April 21, 2025




 VIA ECF

  Honorable Michael E. Farbiarz
  United States District Judge
  Frank R. Lautenberg U.S. Post Office & Courthouse
  Federal Square
  Newark, New Jersey 07102

            Re: United States v. Coburn & Schwartz,
                Dkt. No. 19-cr-120

 Dear Judge Farbiarz:

        As Your Honor is aware, this Firm represents defendant Steven Schwartz in the above-
 captioned matter. I write with the consent of the Government regarding certain administrative
 requests following the Court’s April 3, 2024 Order dismissing this case. See ECF No. 1036.

         Specifically, in light of the Court’s Order dismissing this matter with prejudice against both
 defendants, ECF No. 1036, this case should now be closed. Accordingly, with the consent of the
 Government, Mr. Schwartz respectfully requests that this Court direct the Clerk’s office to
 terminate this case as an active matter. In connection with that request, it should be noted that on
 February 15, 2019, Mr. Schwartz was required to and did execute a $250,000 unsecured
 appearance bond, as set forth in the order setting conditions of his release pending trial. ECF No.
 10. We therefore respectfully request that the Court, as part of closing the case, additionally order
 that this bond be released as well. Again, the Government has no objection to this request.

        If this is acceptable to the Court, Mr. Schwartz respectfully requests that Your Honor “So-
 Order” this letter in the space provided below and direct its entry on the docket at the Court’s
 convenience. Thank you for your consideration of this matter.




 Newark New York Trenton Philadelphia Wilmington                                     gibbonslaw.com
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                                                 Respectfully submitted,

                                                 s/ Lawrence S. Lustberg
                                                 Lawrence S. Lustberg

 SO ORDERED:
 This ____ day of April, 2025


 ___________________________
 Honorable Michael E. Farbiarz
 United States District Judge



  cc:     All Counsel (by ECF)
